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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION


IN RE:                                                :              CHAPTER 7
                                                      :
KELVIN BERNARD JOHNSON,                               :              CASE NO. 19-51667-BEM
TRACEY ANN JOHNSON,                                   :
                                                      :
         Debtors.                                     :


                                                      :
S. GREGORY HAYS, Chapter 7 Trustee                    :
for the Estate of Kelvin Bernard Johnson              :
and Tracey Ann Johnson,                               :
                                                      :
         Plaintiff,                                   :
                                                      :
vs.                                                   :              Adv. Pro. No.
                                                      :
NEW DAY FINANCIAL, LLC,                               :
                                                      :
         Defendant.                                   :
                                                      :


                                           COMPLAINT

         COMES NOW S. Gregory Hays, as Chapter 7 Trustee (the “Plaintiff” or “Trustee”) for

the bankruptcy estate of Kelvin Bernard Johnson and Tracey Ann Johnson (the “Bankruptcy

Estate”), by and through undersigned counsel, and files this Complaint against New Day Financial,

LLC (“Defendant”), showing the Court as follows:

                                       Jurisdiction and Venue

             1.   This Court has jurisdiction over this adversary proceeding under 28 U.S.C. §§ 157

and 1334.

             2.   This adversary proceeding is a core proceeding under 28 U.S.C. §§ 157(b)(2).




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             3.   This adversary proceeding is initiated under Rule 7001 of the Federal Rules of

Bankruptcy Procedure and 11 U.S.C. §§ 544, 550, and 551.

         4.       Venue is proper in this Court under 28 U.S.C. §§ 1408 and 1409(a) because this

adversary proceeding arises in and relates to the Chapter 7 bankruptcy case of Kelvin Bernard

Johnson and Tracey Ann Johnson (the “Debtors”), Case No. 19-51667-BEM (the “Bankruptcy

Case”) pending in the United States Bankruptcy Court for the Northern District of Georgia, Atlanta

Division.

         5.       Plaintiff consents to the entry of final orders or judgment by the Bankruptcy Court

pursuant to Bankruptcy Rule 7008 of the Federal Rules of Bankruptcy Procedure.

         6.       Defendant is subject to the jurisdiction of this Court.

                                           Statement of Facts

                                         a. General Background

         7.       Debtors filed a voluntary petition under Chapter 7 of Title 11 of the United States

Code on January 31, 2019 (the “Petition Date”) and initiated the Bankruptcy Case.

         8.       Shortly thereafter, Plaintiff was appointed to the Bankruptcy Case as interim Chapter

7 Trustee under 11 U.S.C. § 701(a)(1).

         9.       At the conclusion of the Chapter 7 meeting of creditors, conducted in accordance

with 11 U.S.C. § 341(a) on March 11, 2019, Plaintiff became the permanent Chapter 7 Trustee

under 11 U.S.C. § 702(d).

                                              b. The Property

         10.      By virtue of a Warranty Deed (the “Warranty Deed”) dated April 30, 2009,

Debtors were granted an ownership interest as joint tenants with the right of survivorship in a

certain real property and improvements known commonly as 4815 Village Square Northwest,




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Acworth, Cobb County, Georgia 30102-3464 (the “Property”).              The Warranty Deed was

recorded in the real property records with the Clerk of the Superior Court of Cobb County,

Georgia (the “Real Estate Records”) on May 14, 2009.

                                          c. The Transfers

         11.    Debtors executed a Security Deed dated December 21, 2017 (the “Security

Deed”) in favor of Defendant, conveying the Property to secure a debt in the principal amount of

$208,308.00 (the “First Transfer”).

         12.    The Security Deed was recorded in the Real Estate Records on January 3, 2018

(the “Second Transfer”, and together with the First Transfer, the “Transfers”) at Pages 2279-

2292 of Deed Book 15505.

         13.    A true and correct copy of the Security Deed, along with any riders, is attached

hereto and incorporated herein by reference as Exhibit “A.”

         14.    Defendant is the holder of the Security Deed and any related interest in the

Property arising out of the same.

         15.    The execution of the Security Deed by Debtors was not attested by an official

witness as required by O.C.G.A. § 44-14-61. This defect in attestation is apparent on the face of

the Security Deed.

         16.    As a result, the Security Deed was not in recordable form, and, even though

recorded, does not provide actual or constructive notice to a bona fide purchaser.

                                             COUNT I

                                    Claim to Avoid the Transfers
                                    Under 11 U.S.C. § 544(a)(3)

         17.    Plaintiff realleges the allegations of paragraphs 1 through 16 above as though

fully set forth herein.



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         18.    The Security Deed is patently defective because the Debtors’ execution of the

Security Deed is not attested by an official witness.

         19.    Because of this patent defect, the Security Deed does not provide constructive or

actual notice of any security interest. See Wells Fargo Bank, N.A. v. Gordon, 292 Ga. 474

(2013); In re Codrington, 716 F.3d 1344 (11th Cir. 2013); see also Gordon v. U.S. Bank Nat’l

Ass’n (In re Hagler), 429 B.R. 42 (Bankr. D. Ga. 2009) (Massey, J.); U.S. Bank Nat’l Ass’n v.

Gordon, 289 Ga. 12, 17 (2011); U.S. Bank Nat’l Ass’n v. Gordon, 289 Ga. 12, 17 (2011); Wells

Fargo Bank. N.A. v. Gordon, 292 Ga. 474, 477 (2013).

         20.    Plaintiff, in his position as a hypothetical bona fide purchaser of real property, has

a claim in the Property that is superior to the claim of Defendant to the Property, and Trustee

may avoid the Transfers under 11 U.S.C. § 544(a)(3).

                                             COUNT II

                               Claim for Recovery from Defendant
                                    Under 11 U.S.C. § 550(a)

         21.    Plaintiff realleges the allegations of paragraphs 1 through 20 above as though

fully set forth herein.

         22.    Defendant is the initial transferee of an interest in the Property from Debtors, or

Defendant is the entity for whose benefit the Transfers were made.

         23.    Alternatively, Defendant is a mediate or immediate transferee of an interest in the

Property from Debtors.

         24.    Plaintiff is entitled to recover from Defendant its interest in the Property, the value

of the Transfers, or other appropriate relief, under 11 U.S.C. § 550.




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                                           COUNT III

                          Claim for Preservation of Avoided Transfers
                                     Under 11 U.S.C. § 551

         25.    Plaintiff realleges the allegations of paragraphs 1 through 24 above as though

fully set forth herein.

         26.    The avoided Transfers are preserved automatically for the benefit of the

Bankruptcy Estate under 11 U.S.C. § 551.

                WHEREFORE, Plaintiff prays that this Court enter a judgment in favor of

Trustee:

         a)     Avoiding the Transfers under 11 U.S.C. § 544(a)(3);

         b)     Ordering Defendant to turnover, deliver, and transfer its interest in the Property,

or the value of the same, to Trustee under 11 U.S.C. §550;

         c)     Preserving the Transfers for the benefit of the Bankruptcy Estate under 11 U.S.C.

§ 551; and

         d)     Granting such other and further relief that the Court deems just and proper.

         Respectfully submitted this 3rd day of February, 2020.

                                              ARNALL GOLDEN GREGORY, LLP
                                              Attorneys for Plaintiff

                                              By:/s/ Michael J. Bargar
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                            EXHIBIT “A” FOLLOWS




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